        Case:18-40955-EJC Doc#:42 Filed:10/22/18 Entered:10/22/18 15:01:41                               Page:1 of 1


         IT IS ORDERED as set forth below:




         Date: October 22, 2018



_____________________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                                           Southern District of Georgia

 In re:                                                                          Case No.: 18−40955−EJC
 Ernest Munson Thompson and Sandra Mullis
 Thompson                                                                        Judge: Edward J. Coleman III
        Debtors
                                                                                 Chapter: 7

                                       ORDER APPOINTING BROKER


    The Application of the Trustee for appointment of BK Global Real Estate Services as Broker for the Trustee
 having been considered and it appearing to the Court that the employment of BK Global Real Estate Services is
 necessary and beneficial to this estate,
    It further appearing that the Broker has no adverse interest to those of this estate, and that the employment is
 proper,

    IT IS THEREFORE ORDERED that the Trustee is authorized to employ the services of BK Global Real Estate
 Services as Broker for the Trustee subject to objection by any party in interest within twenty−one (21) days of the
 date hereof. The compensation of such Broker will be later fixed and determined by the Court in such manner as the
 Court may from time to time direct after notice to creditors.
                                                  [END OF DOCUMENT]

 B−04e [07−14]
